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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

THOMAS GEBKA, Individually and on             )
behalf of all others similarly situated,      )
                                              )
                        Plaintiff,            )       Case No. 1:19-cv-06662
                                              )
         v.                                   )       Hon. Sharon J. Coleman
                                              )
ALLSTATE INSURANCE COMPANY,                   )       Mag. Jeffrey I. Cummings
a Delaware limited liability company,         )
                                              )
                        Defendant.            )

          PLAINTIFF’S UNOPPOSED MOTION FOR LEAVE TO FILE
    INSTANTER MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
   SETTLEMENT AND SUPPORTING MEMORANDUM IN EXCESS OF 15 PAGES

         Plaintiff Thomas Gebka (“Plaintiff”), pursuant to Local Rule 7.1 and this Court’s standing

order, respectfully requests that the Court grant him leave to file instanter his thirty-page

Unopposed Motion for Preliminary Approval of Class Action Settlement and Supporting

Memorandum (ECF No. 129). In support of this Motion, Plaintiff states as follows:

         1.     This is a class action alleging that Defendant Allstate Insurance Company

(“Allstate”) violated the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227(c), and

the TCPA implementing regulations, 47 C.F.R. § 64.1200(c)(2), in connection with telemarketing

calls that were placed. without prior express written invitation or permission, to persons whose

telephone numbers were registered on the national Do-Not-Call Registry.

         2.     The Parties reached a class settlement in principle during a mediation on February

10, 2022. See ECF No. 127 (Joint Status Report regarding mediation).

         3.     The settlement agreement was signed on April 9, 2022, and Plaintiff has now asked

the Court to certify the settlement class, preliminarily approve the settlement, approve the notice



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plan, and set a final approval hearing. See ECF No. 129 (hereinafter, the “Motion for Preliminary

Approval”).

         4.     In the Motion for Preliminary Approval, it was necessary to address the background

of the litigation and the details of the proposed settlement, as well as to explain the reasons the

settlement warrants preliminary approval, how the settlement class satisfies the requirements for

class certification, and why the proposed notice plan is constitutionally sound.

         5.     Given the numerous issues to be addressed—and, particularly in light of the fact

that several of the necessary analyses could each easily consume an entire fifteen-page brief on

their own—Plaintiff requires an additional fifteen pages (for a total of 30 pages) to establish that

the settlement warrants preliminary approval, the settlement class satisfies the requirements for

class certification, and the proposed notice plan is constitutionally sound.

         6.     The undersigned has conferred with counsel for Allstate, who does not oppose the

relief sought by this Motion.

         WHEREFORE, Plaintiff respectfully requests that the Court enter an Order granting him

leave to file instanter his thirty-page Unopposed Motion for Preliminary Approval of Class Action

Settlement and Supporting Memorandum (ECF No. 129) and awarding any further relief the Court

deems necessary and proper.

Dated: April 19, 2022
                                              Respectfully Submitted,

                                              THOMAS GEBKA, individually and on behalf of all
                                              others similarly situated, Plaintiffs

                                              By: /s/ Theodore H. Kuyper

                                              Keith J. Keogh
                                              Theodore H. Kuyper
                                              KEOGH LAW, LTD.
                                              55 W. Monroe Street, Suite 3390


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                                      Chicago, Illinois 60603
                                      (312) 726-1092
                                      (312) 726-1093 (fax)
                                      keith@keoghlaw.com
                                      tkuyper@keoghlaw.com

                                      Attorneys for Plaintiff and the Putative Class




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                              CERTIFICATE OF SERVICE

       I hereby certify that, on April 19, 2022, I caused a copy of the foregoing Plaintiff’s
Unopposed Motion for Leave to File Instanter Motion for Preliminary Approval of Class Action
Settlement and Supporting Memorandum in Excess of 15 pages to be served upon all counsel of
record via electronic filing using the CM/ECF system.


                                                   /s/ Theodore H. Kuyper




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